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                                       UNITED STATES'DlSTRICT  COURT
                                       FOR THE DISTRICT. OF,MARYLAND
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            UNITED STATES OF AMERICA
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                                                                      CRIMINAL                   NO.
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                          v.
                                                                       (Production of Child Pornography,
            BRYAN EDWARD EVANS,                                        18 U.S.c. ~ 2251(a); Forfeiture, 18
                                                                       U.S.c. ~ 2253)
                          Defendant.


                                                     INDICTMENT

                                                     COUNT ONE
                                           (Production of Child Pornography)

                   The Grand Jury for the District of Maryland charges that:

                   Between on or about August 14,2014 and on or about January 21,2016, in the District of

            Maryland and elsewhere, the defendant,

                                             BRYAN EDWARD EVANS,

            did knowingly employ, use, persuade, induce, entice and coerce multiple minors under 18 years

            of age, to engage in sexually explicit conduct as defined in Title 18, United States Code, Section

            2256(2), for the purpose of producing       visual depictions of such conduct, and said visual

            depictions were produced using materials that weremailed.shipped.                          and transported in interstate

            and foreign commerce by any means.

            18 U.S.C.   S 2251 (a)
                Case 1:16-cr-00498-DKC Document 1 Filed 10/13/16 Page 2 of 2


                                              FORFEITURE

           The Grand Jury for the District of Maryland further charges that:

           1.       The allegation in Count One of this Indictment is incorporated here.

           2.       As a result of the offense set forth in Count One of the Indictment in this case, the

 defendant,

                                       BRYAN EDWARD EVANS,

 shall forfeit to the United States all property that was used and intended to be used to commit and

 to promote the commission of offense in Counts One, and any property traceable to such

 property.

  18 U.S.C.     S 2253



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                                                           United States Attorney
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  A TRUE BILL


SIGNATURE REDACTED -
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  Date: October 13,2016




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